                Case 2:16-bk-13852-BB                   Doc 1 Filed 03/25/16 Entered 03/25/16 18:47:16                                    Desc
                                                        Main Document     Page 1 of 22
Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         12/15
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                East Coast Foods, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1514 Gower Street
                                  Los Angeles, CA 90028
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                    Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    East Coast Foods, Inc.                                                                      Case number (if known)
          Name



7.   Describe debtor's business A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53AB))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80a-3)

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.naics.com/search/.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     Debtor filing?
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years after
                                                                 that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operation, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                 Case number
                                                 District                                 When                                 Case number

10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                    Relationship to you
                                                 District                                 When                             Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   East Coast Foods, Inc.                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                25,001-50,000
    creditors                                                                        5001-10,000                                50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   East Coast Foods, Inc.                                                                    Case number (if known)
         Name



         Request for Relief, Declaration, and Signature

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 25, 2016
                                                  MM / DD / YYYY


                             X   /s/ Herbert Hudson                                                      Herbert Hudson
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Vahe Khodzhayan                                                       Date March 25, 2016
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Vahe Khodzhayan
                                 Printed name

                                 KG LAW, APC
                                 Firm name

                                 1010 N. Central Ave, Ste 450
                                 Glendale, CA 91202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     818-245-1340                  Email address      vahe@lawyer.com

                                 261996
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify your case:

 Debtor 1                     Herbert Hudson
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name

 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                     Check if this is an
                                                                                                                                                amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                               Unsecured claim
 1                                                                   What is the nature of the claim?              Business Debt               $ $6,500.00
              American Paper & Plastics
              550 S. 7th Ave                                         As of the date you file, the claim is: Check all that apply
              La Puente, CA 91746                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?                                          $ $31,000.00
              Blue Shield of California
              PO Box 749415                                          As of the date you file, the claim is: Check all that apply
              Los Angeles, CA 90074                                          Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 1

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 Debtor 1          East Coast Foods, Inc.                                                           Case number (if known)



 3                                                                   What is the nature of the claim?              Business Debt               $ $281,000.00
            Botach Management
            5011 W. Pico Blvd                                        As of the date you file, the claim is: Check all that apply
            Los Angeles, CA 90019                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              Business Debt               $ $45,000.00
            Challenge Dairy Products, Inc
            PO Box 742266                                            As of the date you file, the claim is: Check all that apply
            Los Angeles, CA 90074                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              Business Debt               $ $35,000.00
            Charlie's Fixtures Inc
            2251 Venice Blvd                                         As of the date you file, the claim is: Check all that apply
            Los Angeles, CA 90005                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              Business Debt               $ $235,000.00
            Choice Foods, Inc
            5798 Anderson Street                                     As of the date you file, the claim is: Check all that apply
            Los Angeles, CA 90058                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                            No


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 2

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 Debtor 1          East Coast Foods, Inc.                                                           Case number (if known)



            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Business Debt               $ $62,000.00
            Clemson Distributions, Ins
            20722 Currier Road, C                                    As of the date you file, the claim is: Check all that apply
            Walnut, CA 91789                                                 Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?                                          $ $4,165,000.00
            Clifton Capital Group, LLC
            PO Box 764                                               As of the date you file, the claim is: Check all that apply
            La Canada Flintridge, CA                                         Contingent
            91012-0764                                                       Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Business Debt /             $ $3,240,107.48
                                                                                                                   Judgment
            Daniel Beasley
            c/o Cummins & White                                      As of the date you file, the claim is: Check all that apply
            1025 W. 190th Street                                             Contingent
            Gardena, CA 90248                                                Unliquidated
                                                                             Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?              Business Debt               $ $52,875.00
            DV Marketing
            5047 PIco Blvd                                           As of the date you file, the claim is: Check all that apply
            Los Angeles, CA 90019                                            Contingent
                                                                             Unliquidated


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 3

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 Debtor 1          East Coast Foods, Inc.                                                           Case number (if known)


                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?                                          $ $750,000.00
            Freeway Foods, Inc
            621 W. Manchester                                        As of the date you file, the claim is: Check all that apply
            Inglewood, CA 90301                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?                                          $ $92,354.66
            Los Angeles County Treasurer
            Po Box 54110                                             As of the date you file, the claim is: Check all that apply
            Los Angeles, CA 90054                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?              Business Debt               $ $20,800.00
            MyScribble LLC
            4777 W. Pswego Ave                                       As of the date you file, the claim is: Check all that apply
            Fresno, CA 93722                                                 Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 4

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 Debtor 1          East Coast Foods, Inc.                                                           Case number (if known)

 14                                                                  What is the nature of the claim?              Business Debt               $ $17,000.00
            Priudential Overall Supply
            PO Box 11210                                             As of the date you file, the claim is: Check all that apply
            Santa Ana, CA 92711-1210                                         Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?              Business Debt               $ $256,765.00
            Sergio Borgognone
            708 Acacia Ave, #A                                       As of the date you file, the claim is: Check all that apply
            Corona Del Mar, CA 92625                                         Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?                                          $ $1,500,000.00
            Shoreline Foods
            730 E. Broadway                                          As of the date you file, the claim is: Check all that apply
            Long Beach, CA 90802                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 17                                                                  What is the nature of the claim?                                          $ $986,577.00
            State Board of Equalization
            PO Box 942879                                            As of the date you file, the claim is: Check all that apply
            Sacramento, CA 94279                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 5

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 Debtor 1          East Coast Foods, Inc.                                                           Case number (if known)


                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?              Business Debt /             $ $900,000.00
                                                                                                                   Judgment
            Tachera Harrington, et. al.
            c/o Law Offices of Gene Ramos                            As of the date you file, the claim is: Check all that apply
            5900 Wilshire Blvd, Ste 1730                                     Contingent
            Los Angeles, CA 90036-5013                                       Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?                                          $ $2,000,000.00
            Waffle PLaza Properties
            453 E. Spring Street, Ste 839                            As of the date you file, the claim is: Check all that apply
            Los Angeles, CA 90013                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?              Business Debt               $ $35,000.00
            West Central Produce
            12480 Levya Street,                                      As of the date you file, the claim is: Check all that apply
            Norwalk, CA 90650                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Herbert Hudson                                                               X
       Herbert Hudson                                                                       Signature of Debtor 2



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 6

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 Debtor 1          East Coast Foods, Inc.                                                           Case number (if known)

       Signature of Debtor 1


       Date      March 25, 2016                                                             Date




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                 Page 7

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 Fill in this information to identify the case:
 Debtor name East Coast Foods, Inc.
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                              Check if this is an
                                                CALIFORNIA
 Case number (if known):                                                                                                                                  amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number         Nature of claim              Indicate if claim   Amount of claim
 complete mailing address,       and email address of           (for example, trade debts,    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact               bank loans, professional     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                services, and government         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                contracts)                                       Total claim, if            Deduction for value         Unsecured claim
                                                                                                                 partially secured          of collateral or setoff
 American Paper &                                               Business Debt                                                                                                   $6,500.00
 Plastics
 550 S. 7th Ave
 La Puente, CA
 91746
 Blue Shield of                                                                                                                                                               $31,000.00
 California
 PO Box 749415
 Los Angeles, CA
 90074
 Botach Management                                              Business Debt                                                                                               $281,000.00
 5011 W. Pico Blvd
 Los Angeles, CA
 90019
 Challenge Dairy                                                Business Debt                                                                                                 $45,000.00
 Products, Inc
 PO Box 742266
 Los Angeles, CA
 90074
 Charlie's Fixtures                                             Business Debt                                                                                                 $35,000.00
 Inc
 2251 Venice Blvd
 Los Angeles, CA
 90005
 Choice Foods, Inc                                              Business Debt                                                                                               $235,000.00
 5798 Anderson
 Street
 Los Angeles, CA
 90058
 Clemson                                                        Business Debt                                                                                                 $62,000.00
 Distributions, Ins
 20722 Currier Road,
 C
 Walnut, CA 91789




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                      page 1

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 Debtor    East Coast Foods, Inc.                                                                                 Case number (if known)
           Name

 Name of creditor and            Name, telephone number         Nature of claim              Indicate if claim   Amount of claim
 complete mailing address,       and email address of           (for example, trade debts,    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact               bank loans, professional     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                services, and government         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                contracts)                                       Total claim, if            Deduction for value         Unsecured claim
                                                                                                                 partially secured          of collateral or setoff
 Clifton Capital                                                                                                                                                          $4,165,000.00
 Group, LLC
 PO Box 764
 La Canada
 Flintridge, CA
 91012-0764
 Daniel Beasley                                                 Business Debt /              Disputed                                                                     $3,240,107.48
 c/o Cummins &                                                  Judgment
 White
 1025 W. 190th Street
 Gardena, CA 90248
 DV Marketing                                                   Business Debt                                                                                                 $52,875.00
 5047 PIco Blvd
 Los Angeles, CA
 90019
 Freeway Foods, Inc                                                                                                                                                         $750,000.00
 621 W. Manchester
 Inglewood, CA
 90301
 Los Angeles County                                                                                                                                                           $92,354.66
 Treasurer
 Po Box 54110
 Los Angeles, CA
 90054
 MyScribble LLC                                                 Business Debt                                                                                                 $20,800.00
 4777 W. Pswego
 Ave
 Fresno, CA 93722
 Priudential Overall                                            Business Debt                                                                                                 $17,000.00
 Supply
 PO Box 11210
 Santa Ana, CA
 92711-1210
 Sergio Borgognone                                              Business Debt                                                                                               $256,765.00
 708 Acacia Ave, #A
 Corona Del Mar, CA
 92625
 Shoreline Foods                                                                                                                                                          $1,500,000.00
 730 E. Broadway
 Long Beach, CA
 90802
 State Board of                                                                                                                                                             $986,577.00
 Equalization
 PO Box 942879
 Sacramento, CA
 94279




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                      page 2

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 Debtor    East Coast Foods, Inc.                                                                                 Case number (if known)
           Name

 Name of creditor and            Name, telephone number         Nature of claim              Indicate if claim   Amount of claim
 complete mailing address,       and email address of           (for example, trade debts,    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact               bank loans, professional     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                services, and government         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                contracts)                                       Total claim, if            Deduction for value         Unsecured claim
                                                                                                                 partially secured          of collateral or setoff
 Tachera Harrington,                                            Business Debt /                                                                                             $900,000.00
 et. al.                                                        Judgment
 c/o Law Offices of
 Gene Ramos
 5900 Wilshire Blvd,
 Ste 1730
 Los Angeles, CA
 90036-5013
 Waffle PLaza                                                                                                                                                             $2,000,000.00
 Properties
 453 E. Spring Street,
 Ste 839
 Los Angeles, CA
 90013
 West Central                                                   Business Debt                                                                                                 $35,000.00
 Produce
 12480 Levya Street,
 Norwalk, CA 90650




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                      page 3

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                       East Coast Foods, Inc.
                       1514 Gower Street
                       Los Angeles, CA 90028


                       Vahe Khodzhayan
                       KG LAW, APC
                       1010 N. Central Ave, Ste 450
                       Glendale, CA 91202


                       Airx Ferguson
                       6226 Cherry Ave
                       Long Beach, CA 90805


                       American Paper & Plastics
                       550 S. 7th Ave
                       La Puente, CA 91746


                       ASAF Law
                       8730 Wilshire Blvd, Ste 310
                       Beverly Hills, CA 90211


                       Athens Services
                       Po Box 60009
                       City of Industry, CA 91716-0009


                       Blue Shield of California
                       PO Box 749415
                       Los Angeles, CA 90074


                       Botach Management
                       5011 W. Pico Blvd
                       Los Angeles, CA 90019
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                   California Farms, LLC
                   PO Box 3848
                   1621 E. Francis Street
                   Ontario, CA 91761


                   California Fire Exhaust
                   9413 Beach Ave
                   Pacoima, CA 91331


                   Challenge Dairy Products, Inc
                   PO Box 742266
                   Los Angeles, CA 90074


                   Charlie's Fixtures Inc
                   2251 Venice Blvd
                   Los Angeles, CA 90005


                   Choice Foods, Inc
                   5798 Anderson Street
                   Los Angeles, CA 90058


                   City of Los Angeles
                   200 N. Spring Street, Room 101
                   Los Angeles, CA 90012


                   City of Pasadena
                   PO Box 7120
                   Pasadena, CA 91109


                   Clemson Distributions, Ins
                   20722 Currier Road, C
                   Walnut, CA 91789
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                   Clifton Capital Group, LLC
                   PO Box 764
                   La Canada Flintridge, CA 91012-0764


                   Coastal Carbonic
                   Po Box 266
                   Stanton, CA 90680


                   Corky's Pest Control
                   909 Rancheros Dr
                   San Marcos, CA 92069


                   Daniel Beasley
                   c/o Cummins & White
                   1025 W. 190th Street
                   Gardena, CA 90248


                   Daniel Flores, et. al.
                   c/o Cummins & White
                   1025 W. 190th Street
                   Gardena, CA 90248


                   Dickerson Employee Benefits
                   c/o Carl Dickerson
                   1918 Riverside Drive
                   Los Angeles, CA 90039


                   Dolores Canning
                   1020 N. Eastern Ave,
                   Los Angeles, CA 90063


                   Duran Cleaning
                   2636 W. Main Street,
                   Alhambra, CA 91801
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                   DV Marketing
                   5047 PIco Blvd
                   Los Angeles, CA 90019


                   Freeway Foods, Inc
                   621 W. Manchester
                   Inglewood, CA 90301


                   IPFS Corporation
                   Campbellsburg, IN 47108-7000



                   LADWP
                   PO Box 30808
                   Los Angeles, CA 90030


                   Los Angeles County Treasurer
                   Po Box 54110
                   Los Angeles, CA 90054


                   Mercury Casualty Company
                   PO Box 5600
                   Rancho Cucamonga, CA 91729


                   MyScribble LLC
                   4777 W. Pswego Ave
                   Fresno, CA 93722


                   Priudential Overall Supply
                   PO Box 11210
                   Santa Ana, CA 92711-1210
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                   Quality Waste Services
                   3534 Whittier Blvd
                   Los Angeles, CA 90023


                   Sergio Borgognone
                   708 Acacia Ave, #A
                   Corona Del Mar, CA 92625


                   Shoreline Foods
                   730 E. Broadway
                   Long Beach, CA 90802


                   State Board of Equalization
                   PO Box 942879
                   Sacramento, CA 94279


                   Tachera Harrington, et. al.
                   c/o Law Offices of Gene Ramos
                   5900 Wilshire Blvd, Ste 1730
                   Los Angeles, CA 90036-5013


                   Telepacific Communication
                   PO Box 509013
                   San Diego, CA 92150


                   Terminix COmmerical
                   PO Box 509013
                   San Diego, CA 92150


                   Waffle PLaza Properties
                   453 E. Spring Street, Ste 839
                   Los Angeles, CA 90013
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                   West Central Produce
                   12480 Levya Street,
                   Norwalk, CA 90650


                   Wholesum Breads
                   425 N. Alexander Street
                   San Fernando, CA 91340
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &          FOR COURT USE ONLY
Email Address
Vahe Khodzhayan
1010 N. Central Ave, Ste 450
Glendale, CA 91202
818-245-1340 Fax: 818-245-1341
California State Bar Number: 261996
vahe@lawyer.com




     Attorney for:
                                                 UNITED STATES BANKRUPTCY COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                         CASE NO.:
          East Coast Foods, Inc.                                               ADVERSARY NO.:
                                                                    Debtor(s), CHAPTER: 11

                                                                   Plaintiff(s),
                                                                                     CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                    [No hearing]
                                                               Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor
in a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its
parent corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10%
or more of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Vahe Khodzhayan                                                          , the undersigned in the above-captioned case, hereby declare
                  (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                 This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                 F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]
1.      I have personal knowledge of the matters set forth in this Statement because:
           I am the president or other officer or an authorized agent of the Debtor corporation
           I am a party to an adversary proceeding
           I am a party to a contested matter
           I am the attorney for the Debtor corporation
2.a.       The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
            class of the corporation’s(s’) equity interests:
            [For additional names, attach an addendum to this form.]
   b.      There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.

March 25, 2016                                                                           By:    /s/ Vahe Khodzhayan
Date                                                                                            Signature of Debtor, or attorney for Debtor

                                                                                         Name:        Vahe Khodzhayan
                                                                                                      Printed name of Debtor, or attorney for
                                                                                                      Debtor




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
